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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
National Council of Nonprofits, et al.,    )
                                           )
                             Plaintiffs,   )
                                           )
                     v.                    )    Civil Action No. 1:25-cv-239 (LLA)
                                           )
Office of Management and Budget, et al.,   )
                                           )
                             Defendants.   )
__________________________________________)

                                     NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the District of Columbia Circuit from this Court’s preliminary injunction, as set forth

in the Memorandum and Order dated February 25, 2025 and docketed at ECF Nos. 51, 52.


Dated: April 24, 2025                        Respectfully Submitted,

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                                             Acting Assistant Attorney General

                                             ALEXANDER K. HAAS
                                             Director

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